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                        UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION
 State of Florida, et al.,

             Plaintiffs,
                                             Case No. 8:22-cv-01981-TPB-JSS
 v.

 Food and Drug Administration, et al.,

             Defendants.

       Joint Status Report for the FOIA Claims Subject to Special Handling
                                 (Counts 2, 3, and 4)

        The parties, by counsel, respectfully submit this Joint Status Report for the

claims advanced under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552,

as directed in the Court’s January 4, 2023 Case Management and Scheduling

Order. ECF No. 44, ¶ 2. 1

        1.          Plaintiffs seek the production of records from Defendant Food

and Drug Administration (“FDA”) in response to a FOIA request submitted by

Plaintiff, the Agency for Health Care Administration (“AHCA”), about the State

of Florida’s Section 804 Importation Program (“SIP”) Proposal, other states’ SIP

Proposals, and various other records about the Section 804 Importation Program,




      1 This status report does not address Plaintiffs’ claims brought under the

Administrative Procedure Act (“APA”), which are proceeding separately.
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generally. The relevant time period for the FOIA request is January 1, 2019, to

July 6, 2022, the date the request was submitted to FDA.

      2.          By its Order, dated November 21, 2023, the Court imposed the

following schedule in this case and in the related case, Florida v. FDA, Case No.

8:23-cv-877-TPB-TGW (M.D. Fla.) (hereinafter, “Florida II”):


                             Event                          Deadline

            Defendants complete all productions in     November 21, 2028
            response to Plaintiffs’ July 2022, March
              2023, and May 2023 FOIA requests

           Defendants serve Plaintiffs with a Vaughn   February 20, 2024
            index for the productions dated March
           27, 2023, May 4, 2023, May 23, 2023, June
                   28, 2023, and July 26, 2023

           Defendants serve Plaintiffs with a Vaughn    March 20, 2024
            index for the productions dated August
           28, 2023, September 28, 2023, and October
                            30, 2023

           Defendants serve Plaintiffs with a Vaughn   Rolling, 120 Days
             index for the productions made after         After Each
                       October 30, 2023.                  Production

               Deadline for Motions for Partial            May 20, 2024
            Summary Judgment on Redactions and
                Withholdings for Defendants’
            Productions Through October 30, 2023


See Order, ECF No. 110.

      3.          FDA is currently reviewing the potentially responsive records


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identified in its searches to determine whether any pages are responsive to

AHCA’s request and, if so, whether any exemptions from disclosure apply under

the FOIA. To date, FDA has produced ten interim responses to AHCA on March

27, May 4, May 22, June 28, July 26, August 28, September 28, October 30,

November 27, and December 26, 2023, and comprising 6,296 pages (Bates

numbered FDACDER000001 - FDACDER006296).

      4.       FDA is also working toward the production of Vaughn index

materials in accordance with the Court-ordered deadlines identified above.

      5.       The parties’ next joint status report is currently due in 90 days, on

Monday, April 1, 2024. See ECF No. 44, ¶ 2.

 Dated: January 2, 2024                Respectfully submitted,

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           Signed by filing counsel with the permission of non-filing counsel




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